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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

WILLIAM C. CARN, III, as Chapter 7        )
Trustee of SpecAlloy Corporation          )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )   Case No. 1:18-cv-893-ALB
                                          )
LYLE PELUSO, JR.;                         )
MEAGHAN PELUSO;                           )
WAYNE RATNER;                             )
MICKEY CHRISTO; and                       )
PANHANDLE EMPLOYMENT                      )
AGENCY, LLC,                              )
                                          )
             Defendants.                  )

                                   ORDER

      Upon consideration of the parties’ Stipulation of Dismissal (Doc. 57) filed on

September 3, 2019, which comports with FED. R. CIV. P. 41(a)(1)(A)(ii), this action

has been dismissed with prejudice by operation of Rule 41, on the terms agreed to

and set out by the parties.

      The Clerk of the Court is DIRECTED to close this case.

      DONE this 4th day of September, 2019.


                                           /s/ Andrew L. Brasher
                                      ANDREW L. BRASHER
                                      UNITED STATES DISTRICT JUDGE
